     Case 1:13-cr-00294-LJO-SKO Document 42 Filed 07/31/13 Page 1 of 2



 1   WANGER JONES HELSLEY PC
     265 E. River Park Circle, Suite 310
 2   Post Office Box 28340
     Fresno, California 93729
 3   Telephone: (559) 233-4800
     Facsimile: (559) 233-9330
 4
     Peter M. Jones, Esq. SBN# 105811
 5
     Attorneys for:        Defendant, KHAMPHOU KHOUTHONG
 6
 7
                                    UNITED STATES DISTRICT COURT
 8
                                   EASTERN DISTRICT OF CALIFORNIA
 9
10   UNITED STATES OF AMERICA,                            Case No.: 1:13 CR00294 LJO-SKO
11                    Plaintiff,                          WAIVER OF DEFENDANT’S
                                                          PERSONAL PRESENCE AT
12           v.
                                                          PRETRIAL PROCEEDINGS;
13   KHAMPHOU KHOUTHONG                                   ORDER THEREON

14                    Defendant.

15
16
17
18                     Pursuant to F.R. Crim. P. 43(b)(3), Defendant, KHAMPHOU KHOUTHONG,

19   having been advised of his right to be present at all stages of the proceedings, hereby requests

20   that this Court proceed in his absence on every occasion that the Court may permit, pursuant to

21   this waiver. Defendant agrees that his interests shall be represented at all times by the presence

22   of his attorney, PETER M. JONES, the same as if Defendant were personally present, and

23   requests that this court allow his attorney-in-fact to represent his interests at all times.

24   Defendant further agrees that notice to Defendant’s attorney that Defendant’s presence is

25   required will be deemed notice to the Defendant of the requirement of his appearance at said

26   time and place.

27                     Defendant makes this request because the time, distance and expense involved

28   for travel from his home in Hawaii to Fresno for court appearances would be both a financial

     {8110/035/00421624.DOC}                         1
      ____________________________________________________________________________________________________
          WAIVER OF DEFENDANT’S PERSONAL PRESENCE AT PRETRIAL PROCEEDINGS; [PROPOSED] ORDER THEREON
     Case 1:13-cr-00294-LJO-SKO Document 42 Filed 07/31/13 Page 2 of 2



 1   and personal hardship. Defendant wishes to limit the number of personal court appearances

 2   and minimize the time and expense of travel to court. Mr. KHAMPHOU KHOUTHONG

 3   currently resides in the state of Hawaii, where he is on Supervised Pretrial release.

 4
 5   Dated: July 26, 2013                                       /s/KHAMPHOU KHOUTHONG__
                                                                    KHAMPHOU KHOUTHONG
 6
 7
     Dated: July 26, 2013
 8
 9                                                               /s/ PETER M. JONES_________________
                                                                     PETER M. JONES, Attorney for
10                                                                   Defendant, KHAMPHOU KHOUTHONG
11
12
13
                                                                  ORDER
14
15                                   GOOD CAUSE APPEARING, IT IS HEREBY ORDERED that Defendant’s
16   appearance may be waived at any and all non-substantive pretrial proceedings in accordance
17   with Rule 43 of the Federal Rules of Criminal Procedure until further order of the Court.
18
19
20
21
22
23
24   IT IS SO ORDERED.
25
                           Dated:   July 31, 2013                                  /s/ Sheila K. Oberto
26   DEAC_Signature-END:
                                                                         UNITED STATES MAGISTRATE JUDGE
27   ie14hje
28
     {8110/035/00421624.DOC}                                2
             ____________________________________________________________________________________________________
                           WAIVER OF DEFENDANT’S PERSONAL PRESENCE AT PRETRIAL PROCEEDINGS; [PROPOSED] ORDER THEREON
